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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION


VERVAIN, LLC,

                Plaintiff,                                     Case No. 6:21-cv-00487-ADA

        v.

MICRON TECHNOLOGY, INC.,
MICRON SEMICONDUCTOR PRODUCTS,
INC., AND MICRON TECHNOLOGY
TEXAS, LLC,

                Defendants.



                  NOTICE OF REQUEST FOR DAILY TRANSCRIPT AND
                   REAL TIME REPORTING OF TRIAL PROCEEDINGS

         Pursuant to the Amended Scheduling Order (Dkt. 104), Plaintiff Vervain, LLC hereby notifies

the Court of its request for daily transcript and real time reporting of the trial proceedings in this matter.

A copy of this request is being provided via email to Kristie Davis, court reporter, at

kmdaviscsr@yahoo.com.



Dated: March 29, 2023                                      MCKOOL SMITH, P.C.

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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on March 29, 2023, all counsel of record who are deemed to

have consented to electronic service are being served with a copy of this document via the Court’s

electronic filing system.

                                                     /s/ Alan L. Whitehurst
                                                    Alan L. Whitehurst
